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 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                      SEATTLE DIVISION

10   ANGELA M. BEVILACQUA,                               Civil No. 2:20-CV-01617-RSM

11            Plaintiff,

12            vs.                                        ORDER

13   COMMISSIONER OF SOCIAL SECURITY,

14            Defendant.

15            Based on Defendant’s Motion, it is hereby ORDERED that the Answer due date shall be

16   amended as follows:

17            Defendant shall have up to and including March 13, 2021, to file a response to Plaintiff’s

18   Complaint, including the certified administrative record. If the certified administrative record

19   becomes available to the Office of the General Counsel before the aforementioned date, the

20   record may be filed earlier, if feasible.

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              If the Commissioner is unable to file the certified administrative record by that date, the
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     Commissioner shall file another motion for extension every 28 days until the certified
 3
     administrative record becomes available.
 4
              DATED this 12th day of January, 2021.
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 7                                                  A
                                                    RICARDO S. MARTINEZ
 8                                                  CHIEF UNITED STATES DISTRICT JUDGE

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10   Presented by:

11   s/ Frederick Fripps
     FREDERICK FRIPPS
12   Special Assistant United States Attorney
     Office of the General Counsel
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